           Case 1:18-cv-02995-KNF Document 159 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
MICHAEL CHIARACANE and LUIS                                           :
MALDONADO,
                                                                      :
                              Plaintiff,                              :
                                                                      :           ORDER
                    -against-                                         :
                                                                      :     18-CV-2995 (KNF)
PORT AUTHORITY TRANS-HUDSON                                           :
CORPORATION, ROBERT KUHFAHL, and                                      :
VINCENT LOMBARDI,                                                     :
                                                                      :
                              Defendants.                             :
-----------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A telephone conference will be held with the parties on October 29, 2020, at 2:00 p.m. The

parties are directed to call (888) 557-8511 and, thereafter, enter access code 4862532. Please be

advised that a court reporter will attend the conference via telephone.

Dated: New York, New York                                           SO ORDERED:
       October 20, 2020
